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             EXHIBIT A
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Gadre, Susmita

From:                             Wish, Benjamin
Sent:                             Thursday, July 18, 2024 2:12 PM
To:                               William P. Breen, Jr.
Cc:                               Miriam Nemeth; Lily Novak; Gadre, Susmita; Rosen, Madison
Subject:                          Bristol County
Attachments:                      2024 07 18 Hodgson Deposition Notice.pdf; 2024 07 18 Wish to Counsel re Deposition
                                  Notice.pdf


Hi, Bill.

Please see the attached. Please let us know right away if this date is not workable for you and the witness.

Thank you.

Ben


Benjamin J. Wish (he/him/his)




Todd & Weld LLP
One Federal Street, Boston, MA 02110
Tel: 617.624.4786 Fax: 617.624.4886
www.toddweld.com




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Gadre, Susmita

From:                            Rosen, Madison
Sent:                            Monday, August 19, 2024 3:12 PM
To:                              wbreen@eckertseamans.com
Cc:                              oren@rightsbehindbars.org; amaris@rightsbehindbars.org; Miriam Nemeth; Lily Novak;
                                 Wish, Benjamin; Gadre, Susmita; Miriam Nemeth
Subject:                         Bristol County Deposition Notices
Attachments:                     2024 08 19 Bader to Counsel re Deposition Notices.pdf; 2024 08 19 Deposition Notice
                                 of Captain Joshua Dube.pdf; 2024 08 19 Deposition Notice of Correction Officer Tracey
                                 Perez.pdf; 2024 08 19 Deposition Notice of Lieutenant Jenifer Arsenault.pdf; 2024 08 19
                                 Deposition Notice of Superintendent Steven Souza.pdf


Bill,

Please see the attached. We are well aware of your commitments and September and therefore provided these
placeholder dates (as we merely wanted to Notice these depositions).

Can we please set up a call in the next week or so to solidify timing?

Thank you kindly,

Madison F. Bader




Todd & Weld LLP
One Federal Street, Boston, MA 02110
Tel: 617.624.4780
www.toddweld.com




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Gadre, Susmita

From:                            Gadre, Susmita
Sent:                            Wednesday, September 18, 2024 10:48 AM
To:                              Miriam Nemeth; William P. Breen, Jr.
Cc:                              Wish, Benjamin; Lily Novak; Rosen, Madison
Subject:                         RE: [EXTERNAL] Re: Bristol County
Attachments:                     Notice of 30(b)(6) Deposition of Bristol County Sheriff's Office.pdf


Hi Bill,

We write to follow up again on these various discussion points and to see when you have time for a meet and confer.

Additionally, please see attached for the 30(b)(6) deposition notice for BCSO. We look forward to seeing you and your
client’s representatives on October 24, 2024. Please let us know as soon as possible, but no later than September 27,
who those representatives will be.

Thanks,
Susmita

Susmita A. Gadre




Todd & Weld LLP
One Federal Street, Boston, MA 02110
Tel: 617.624.4708
www.toddweld.com

From: Miriam Nemeth <miriam@rightsbehindbars.org>
Sent: Tuesday, September 17, 2024 2:14 PM
To: William P. Breen, Jr. <WBreen@eckertseamans.com>
Cc: Gadre, Susmita <sgadre@toddweld.com>; Wish, Benjamin <bwish@toddweld.com>; Lily Novak
<lily@rightsbehindbars.org>; Bader, Madison <mbader@toddweld.com>
Subject: Re: [EXTERNAL] Re: Bristol County

Hi Bill,

I'm following up on your email below about getting back to our outstanding questions and concerns
yesterday. Can you please circle back on those points and also send us some dates and times for a
meet and confer over the next week? Thank you.

Sincerely,

Miriam Nemeth

Miriam R. Nemeth

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Gadre, Susmita

From:                            Rosen, Madison
Sent:                            Monday, November 18, 2024 1:52 PM
To:                              William P. Breen, Jr.
Cc:                              Wish, Benjamin; Lily Novak; Miriam Nemeth; Gadre, Susmita
Subject:                         RE: Pillco-Morocho v. BCSO - Further Deposition Dates
Attachments:                     2024 11 18 Deposition Notice of Barry Ferraria.pdf; 2024 11 18 Deposition Notice of
                                 Bruce Assad.pdf; 2024 11 18 Deposition Notice of Chris Goncalves.pdf; 2024 11 18
                                 Deposition Notice of Doug Monogan.pdf; 2024 11 18 Deposition Notice of Garrett
                                 Correria.pdf; 2024 11 18 Deposition Notice of Jonathan Allard.pdf; 2024 11 18
                                 Deposition Notice of Jonathan Baroody.pdf; 2024 11 18 Deposition Notice of Paul
                                 Douglas.pdf; 2024 11 18 Deposition Notice of Andrew Sousa.pdf


Bill,

Please see attached for further deposition notices.

All of these dates are negotiable, but we would like to set a meet and confer soon to finalize them. We can do this
in between or after some of the depositions later this week if that works for you.

Thank you,

Madison Bader Rosen




Todd & Weld LLP
One Federal Street, Boston, MA 02110
Tel: 617.624.4780
www.toddweld.com

From: William P. Breen, Jr. <WBreen@eckertseamans.com>
Sent: Thursday, November 14, 2024 2:52 PM
To: Gadre, Susmita <sgadre@toddweld.com>; Rosen, Madison <mrosen@toddweld.com>
Cc: Wish, Benjamin <bwish@toddweld.com>; Lily Novak <lily@rightsbehindbars.org>; Miriam Nemeth
<miriam@rightsbehindbars.org>
Subject: Re: Pillco-Morocho v. BCSO - Finalizing Deposition Dates

Susmita,

Yes, schedule for next week looks correct to me. I'm out of town today and tomorrow but will look at
dates for Superintendent Souza upon my return.

Bill



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Gadre, Susmita

From:                             Miriam Nemeth <miriam@rightsbehindbars.org>
Sent:                             Friday, January 17, 2025 1:59 PM
To:                               Rosen, Madison
Cc:                               William P. Breen, Jr.; Lily Novak; Wish, Benjamin; Gadre, Susmita
Subject:                          Re: Bill Please Respond - BCSO Deposition Scheduling
Attachments:                      Deposition Notice of Joseph Oliver.docx; Deposition Notice of Jeremy Carleton.docx;
                                  Deposition Notice of Judy Borges.docx; Deposition Notice of Timothy Melo.docx;
                                  Deposition Notice of Ryan Isherwood.docx; Deposition Notice of Filipe DaSilva.docx;
                                  Deposition Notice of Mark Amaral.docx; Deposition Notice of Michael Bettencourt.docx;
                                  Deposition Notice of Jonathan Sylvia.docx; Deposition Notice of Garrett Soucey.docx;
                                  Deposition Notice of Robert Perry.docx; Deposition Notice of Brian Pratt.docx;
                                  Deposition Notice of Nelly Floriano.docx; Deposition Notice of Kenneth Almeida.docx;
                                  Deposition Notice of William Dillingham.docx



Bill,

Reminder to please send us deposition dates today, or we will follow up early next week with
unilateral and firm dates and seek to compel those depositions as needed.

I have also attached an additional 15 deposition notices for which we would appreciate dates. We
expect that this final round constitutes the bulk of the depositions we plan to take in this case. Please
send us dates for these depositions by next week.

Finally, please send us MS Word copies of the discovery requests you served on the 13th and please
let us know which 25 of the Interrogatories you would like us to answer for each Plaintiff. If we do not
hear back from you on that front, we will answer the first 25 Interrogatories in each document.

Thank you very much for your time and attention to these important matters. Have a nice weekend.

Sincerely,

Miriam

Miriam R. Nemeth

Deputy Litigation Director & Chief Counsel

Rights Behind Bars

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1800 M Street NW Front 1 #33821, Washington, DC 20033

Office: (202) 455-4399 | Cell: (860) 965-2330

miriam@rightsbehindbars.org

Pronouns: she/hers

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Plenefisch, Elena

From:                             Miriam Nemeth <miriam@rightsbehindbars.org>
Sent:                             Friday, March 21, 2025 2:56 PM
To:                               Plenefisch, Elena; Ware-Phillips, Jennifer
Subject:                          [EXT] Fwd: Pillco Morocho v. BCSO deposition schedue
Attachments:                      2025 02 11 Deposition Notice of Jonathan Baroody.pdf; 2025 02 11 Deposition Notice
                                  of Kenneth Almeida.pdf; 2025 02 11 Deposition Notice of Mark Amaral.pdf; 2025 02 11
                                  Deposition Notice of Michael Bettencourt.pdf; 2025 02 11 Deposition Notice of Nelly
                                  Floriano.pdf; 2025 02 11 Deposition Notice of Paul Douglas.pdf; 2025 02 11 Deposition
                                  Notice of Ryan Isherwood.pdf; 2025 02 11 Re-Notice of Deposition of Jonathan
                                  Sylvia.pdf; 2025 02 11 Deposition Notice of Timothy Melo.pdf; 2025 02 11 Deposition
                                  Notice of William Dillingham.pdf; 2025 02 11 Re-Notice of Deposition of Robert
                                  Perry.pdf; 2025 02 11 Re-Notoie of Deposition of Judy Borges.pdf; 2025 02 11
                                  Deposition Notice of Andrew Sousa.pdf; 2025 02 11 Deposition Notice of Brian
                                  Pratt.pdf; 2025 02 11 Deposition Notice of Bruce Assad.pdf; 2025 02 11 Deposition
                                  Notice of Chris Goncalves.pdf; 2025 02 11 Deposition Notice of Filipe DaSilva.pdf; 2025
                                  02 11 Deposition Notice of Garrett Correia.pdf; 2025 02 11 Deposition Notice of Garrett
                                  Soucey.pdf; 2025 02 11 Deposition Notice of Jeremy Carleton.pdf; 2025 02 11
                                  Deposition Notice of Jonathan Allard.pdf




Miriam R. Nemeth

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miriam@rightsbehindbars.org

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Licensed in DC, New York, and Michigan



---------- Forwarded message ---------
From: Miriam Nemeth <miriam@rightsbehindbars.org>
Date: Tue, Feb 11, 2025 at 5:08 PM
Subject: Re: Pillco Morocho v. BCSO deposition schedue
To: Lily Novak <lily@rightsbehindbars.org>
Cc: William P. Breen, Jr. <WBreen@eckertseamans.com>, <EdwardMeyers@bcso-ma.org>, Wish,


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Benjamin <bwish@toddweld.com>, Gadre, Susmita <sgadre@toddweld.com>, LaMattina, Liana
<llamattina@toddweld.com>


Bill,


I'd like to follow up on Lily's email below and confirm depositions for the below dates. I have also
attached deposition notices for what we believe to be the remainder of the fact depositions Plaintiffs
plan to take in this case, as well as the re-notice of depositions for some of the individuals we're
discussing below. Please send over additional dates for these depositions as soon as
possible. Thank you very much, and have a nice evening.

Sincerely,

Miriam Nemeth

Miriam R. Nemeth

Deputy Litigation Director & Chief Counsel

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On Mon, Feb 10, 2025 at 2:49 PM Lily Novak <lily@rightsbehindbars.org> wrote:
 Hi Bill and Edward,

 To memorialize what we decided on today at the end of Superintendent Oliver's deposition, we'll be
 taking the following depositions on the dates you provided in late February and early March:


        ·   2/25 – Mongeon, Perry, or Douglas
               · you noted likely not Mongeon, as he will have just returned from a vacation
        ·   2/28 – Mongeon, Perry, or Douglas
               · whoever cannot make 2/25, we'll take on 2/28
        ·   3/6 – Baroody - CONFIRMED
        ·   3/7 – Borges - CONFIRMED



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If you can circle up with Mr. Mongeon, Mr. Perry, and Mr. Douglas, and let us know who you will be
producing on 2/25 and 2/28, we will send over subpoenas with the appropriate dates ASAP. I want to
make sure we are utilizing all your available times, to be as efficient as possible. If you're able to confirm
with Mr. Mongeon, Mr. Perry, and Mr. Douglas today, that would be much appreciated.

Mr. Sylvia has now fallen off the list, since he couldn't make it on 2/25. Can you provide us with dates
that work for you to complete his deposition? And can you provide us with one additional date to cover
for whomever of Mr. Mongeon, Mr. Perry, and Mr. Douglas does not end up getting scheduled for 2/25 or
2/28?

I'll be back in touch with any addendums to this tomorrow after we meet internally. I hoping we can work
together to have this all set before Bill's vacation.

Best,
Lily

--
Lily Novak
Legal Fellow

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(o) 202.455.4399

she/her




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Gadre, Susmita

From:                        Lily Novak <lily@rightsbehindbars.org>
Sent:                        Wednesday, February 19, 2025 3:51 PM
To:                          William P. Breen, Jr.; EdwardMeyers@bcso-ma.org
Cc:                          Miriam Nemeth; Wish, Benjamin; Gadre, Susmita; LaMattina, Liana
Subject:                     Confirming Carlton deposition on 2.28 & other deposition logistics
Attachments:                 2025.02.19 Deposition Notice of Belinda Bulgar.pdf; 2025.02.19 Deposition Notice of
                             Gregory Nesse.pdf



Dear Bill and Edward,

I'm writing to confirm that we are moving forward with deposing Lt. Jeremy Carlton on February 28,
since we didn't hear back from you on Mr. Douglas's availability. We look forward to seeing you and
Lt. Carlton at Todd & Weld on the 28th.

We also think that Lt. Carlton's deposition will be a half day. We are hoping we can fit one more
deposition in on the 28th, given you are available on that date. Would you be able to produce William
Dillingham on the afternoon of 2/28? We note from your Interrogatory responses that Mr. Dillingham
is still employed by BCSO, and so we hope he will be one of the easier deponents to produce.

I am also sending over two more deposition notices, for Belinda Bulger and Gregory
Nesse, attached.

Additionally, I wanted to follow up on the need to schedule our outstanding noticed depositions. To
date, we have been unable to obtain dates from you for the following six deponents, all of whom were
noticed three months ago, on November 18, 2024: Bruce Assad, Christopher Goncalves, Garrett
Correia, Jonathan Allard, Paul Douglas, and Andrew Sousa. In addition, we need dates for the
following twelve deponents, noticed on February 11, 2025: Jonathan Sylvia, Robert Perry, Kenneth
Almeida, Mark Amaral, Michael Bettencourt, Nelly Floriano, Ryan Isherwood, Timothy Melo, William
Dillingham, Brian Pratt, Felipe DaSilva, Garret Soucey. Finally, as we've been discussing, we still
need a date for the 30(b)(6). That's nineteen previously noticed depositions, plus the two sent today,
and the four we have scheduled, for a total of twenty-five noticed depositions in the case that we have
yet to take.

We included placeholder dates and times in late February and early March on all of our notices
served on February 12th and today, and we will be prepared to go forward at the dates and times
noticed. However, given that the Court-ordered discovery deadline is in under a month, on March
14th, and the Court has noted in previous orders that it will be very reticent to extend that
deadline, we would like to work with you to prioritize scheduling the most necessary
depositions on this list. To that end, below please find a proposed schedule from next week
through the end of discovery, which covers only the depositions we consider the most important.
We expect the majority of these depositions to be targeted and short. We have included these shorter
depositions as half days, and, for many, we do not anticipate they will even take an entire half-day.
Dates we have previously confirmed with you are highlighted in yellow.

Please note, we have skipped 2/26 and 2/27, as you previously informed us you were unavailable
those days. If this has changed, or if anyone else from your office is available, please let us know as
soon as possible. We are available and are happy to take depositions on those days.
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   o    Douglas Mongeon: 2/25 -10am
   o    Jeremy Carlton: 2/28 - 9am [Bill, we had set this for 10am, but can we move to 9am to
        accomodate an afternoon deposition as well?]
   o    William Dillingham - 2/28 - 1pm [Bill, can you confirm this additional half-day deposition on
        2/28. If Dillingham is not available, can you produce any other K-9 officer on this list?]
   o    Jonathan Sylvia: 3/3 - 10am
   o    Robert Perry: 3/4 - 10am
   o    Paul Douglas: 3/5, 9am
   o    Garret Soucey 3/5, 1pm
   o    Jonathan Baroody: 3/6 - 10am
   o    Judy Borges: 3/7 - 10am
   o    Jonathan Allard: 3/10, 9am
   o    Chris Goncalves: 3/10 - 1pm
   o    Ryan Isherwood: 3/11 - 9am
   o    Nelly Floriano: 3/11 - 1pm
   o    Kenneth Almeida: 3/12 - 9am
   o    Felipe DaSilva: 3/12 - 1pm
   o    Michael Bettencourt: 3/13 - 9am
   o    Mark Amaral: 3/13 - 1pm
   o    30(b)(6) - 3/14 - 9am

If the above does not work for you, we would like to meet and confer with you as soon as possible to
see if we can pin down a mutually agreeable schedule for these outstanding depositions and
avoid a motion to compel. Bill, can you please let us know your availability to meet and confer
this week or early next week? We are happy to accommodate your schedule. If we don't hear back
from you within a week, we will be forced to move forward with a motion to compel.

Best,
Lily

--
Lily Novak
Legal Fellow

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(o) 202.455.4399

she/her




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